Case 1:05-cv-01081-.]DT-STA Document 8 Filed 09/01/05 Page 1 of 2 Page|D 4

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IN THE UNITED STATES DISTR_ICT COURT OSSEF D_Q

 

FOR THE WESTERN DISTRICT OF TENNESSEE "/ pg
WESTERN DIVISION ,,ZF_ *' . 4"40
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LEANN DUNKLE,

Plaintiff,
VS. No. 05-1081-T
JO ANNE B. BARNHART,
COMMISSIONER OF
SOCIAL SECURITY,

Defendant.

ORDER OF REFERENCE

This case is hereby referred to United States Magistrate Judge Thomas Anderson for
report and recommendation

IT IS SO ORDERED.

QQW))M

L/FWES D. TODD
TED STATES DISTRICT JUDGE

/ dfw QOM/
DATE /

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Honorable J ames Todd
US DISTRICT COURT

